Case 2:04-cr-20065-SHl\/l Document 75 Filed 04/20/05 Page 1 of 6 PagelD 83

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-v- 04-20065-01-Ma WD- O'F `f"" "“'

STANLEY IV|ARVlN BEDFORD
J. Patten Brown, l||. FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Nlemphis,Tennessee 38103

 

JUDG|VlENT |N A CRIN||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 10 of the |ndictment on August 19, 2004. According|y, the
court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Title & section ma_w,mg@_$s CMQl_uleg MMS
18 U.S.C. § 2312 Unlawful|y transport motor Vehlcles in 01/27/2004 10

interstate commerce

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the l\/landatory
Victims Flestitution Act of 1996.

Counts 1 through 9 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Wlthin 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of |mposltion of Sentence:
Defendant’s Date of Birth: 2/14/1963 April 15, 2005
Deft’s U.S. l\/larshal No.: 19465-078

Defendant’s Residence Address:
466 Airways Boulevard, #4
l\/lemphls, TN 38119

SAN|UEL H. MAYS, JR.
UN|TED STATES DISTFllCT JUDGE

April l Q , 2005

 

Thls document entered on

l l the docket _,
with nuch 55 and/or 32er Frtorp cm » eZt]§C_°('§pll?n 6 6

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Case No: 04-20065-01-lvla
Defendant Name: Stanley lVlarvin Bedford Page 2 of 5

l|VIPRlSONNlENT

The defendant is hereby committed to the custody of the United States Bureau of
prisons to be imprisoned for a term of twenty-one (21) months.

The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a facility where
he can participate in a drug rehabilitation and treatment program.

The defendant is remanded to the custody of the United States lVlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES lVlAFtSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 04-20065-01-|\/la
Defendant Name: Stan|ey Nlarvin Bedford Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whlle on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegalty sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

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Case No: 04-20065-01~|\/la
Defendant Name: Stan|ey lVlarvin Bedford Page 4 of 5

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which mayinc|ude testing forthe detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendantshall be prohibited from incurring new creditcharges, opening additional lines
of credit or making an obligation for any major purchases without approval ofthe Probation
Officer.

3. The defendant shall provide the Probation Officer access to any requested financial
information.

4. The defendant shall seek and maintain lawful full-time employment

5. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20065-01-i\/la
Defendant Name: Stanley Nlarvin Bedford Page 5 of 5

CR|M|NAL |VIONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedute of Payrnents may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00

The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
No Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
case 2:04-CR-20065 Was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

